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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION



VOTEAMERICA, et al.,
                                           Civil Action No.:
                Plaintiffs,                1:21-CV-1390-JPB

                  v.

BRAD RAFFENSPERGER, in his
official capacity as the Secretary of
State for the State of Georgia, et al.,

                Defendants,

REPUBLICAN NATIONAL
COMMITTEE, et al.,

                Intervenor-Defendants.



            STATE DEFENDANTS’ RESPONSE TO
     PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY
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      State Defendants respectfully submit this response to Plaintiffs’ notice

of supplemental authority. [Doc. 173]. In that notice, Plaintiffs suggest that a

recent decision from the United States District Court for the District of Kansas

is relevant here. Id. (discussing VoteAmerica v. Schwab, No. 21-2253-KHV,

2023 WL 3251009 (D. Kan. May 4, 2023), appeal docketed, No. 23-3100 (10th

Cir. June 1, 2023)). However, Schwab was not relevant when Plaintiffs raised

it before, see [Doc. 103 at 14, 18], and it remains irrelevant now. Indeed,

Schwab addressed a substantially different law, and it applied reasoning that

this Court has already rejected.     Accordingly, nothing in Schwab should

prevent this Court from granting State Defendants’ motion for summary

judgment.

      First, the Kansas law addressed in Schwab differs substantially from the

provisions of SB 202 that Plaintiffs challenge here. True, both laws address

pre-filling and mailing absentee-ballot applications.     But the Kansas law

prohibits the mailing of absentee-ballot applications by any out-of-state entity.

See VoteAmerica v. Schwab, 576 F. Supp. 3d 862, 871 (D. Kan. 2021) (“HB 2332

bans any person from mailing an advance voting application or causing an

application to be mailed, unless the sender is a resident of Kansas or domiciled

in Kansas.”). Accordingly, the Kansas law at issue in Schwab prohibited a
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substantial portion of the plaintiffs’ activities, as none of the plaintiffs in that

case was located in Kansas. Id. SB 202 includes no such broad prohibitions.

      Second, the district court in Schwab applied reasoning that this Court

has already rejected.     For instance, Schwab concluded that pre-filling an

application may be expressive conduct. Schwab, 2023 WL 3251009, at *9. But

this Court previously rejected that argument based on the record here,

concluding that the combination of an informational cover letter with a pre-

filled application is “not sufficient to transform the act of sending the

application forms into protected speech.” [Doc. 131 at 25].

      Indeed, as this Court noted, the inclusion of the application form could

mean many things in the absence of the cover letter. Id. Thus, the “necessity

of the cover message” demonstrates that the pre-filled applications alone lack

the inherent expressiveness required for conduct to be considered expressive.

Id. at 26. And, on this point, this Court rejected Plaintiffs’ repeated requests

to treat the pre-filled applications and the cover letter as “characteristically

intertwined,” concluding that “[e]ach can exist and be sent without the other.”

Id. at 21. The Schwab court’s contrary conclusion, which was based on a

different record, is no basis for this Court to reach a different conclusion now.

      Similarly, for reasons this Court already explained, the Schwab court’s

conclusion, 2023 WL 3251009, at *20, that pre-filled ballot applications may be

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political speech “does not square” with the controlling political speech cases.

[Doc. 131 at 19]. For example, this Court explained that “distributing forms

prefilled” does not “require the type of interactive debate and advocacy” that

constituted political speech in Meyer v. Grant, 486 U.S. 414 (1988). Id. at 19–

20.

      Additionally, this Court rejected the associational-rights analysis that

Schwab employs. Schwab, 2023 WL 3251009, at *10–11. While Plaintiff Voter

Participation Center (“VPC”) may target a specific group of voters, that does

not create a protected association between VPC and those voters. Indeed, those

voters never opted to associate with VPC. They are mere strangers, and this

Court already concluded that such one-way contact lacks the “two-way

engagement” required to invoke associational protection. [Doc. 131 at 28].

Nothing about the Schwab court’s reasoning should lead this Court to a

different conclusion.

      But even if this Court were persuaded that Schwab requires it to apply

a higher level of scrutiny, the Court should nonetheless grant State

Defendants’ motion for summary judgment.         Indeed, nothing in Schwab

undermines the compelling state interests identified in the record here. As

State Defendants demonstrated, the challenged provisions of SB 202 further

the State’s interests in preventing voter confusion and election fraud and

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improving electoral administration.     [Doc. 149-1 at 15, 29–30].   And the

challenged provisions of SB 202 are narrowly tailored to further those

interests, allowing Plaintiffs many opportunities to still communicate their

pro-absentee-voting message to Georgia voters. Id. at 27, 29.

      Thus, because Schwab considers a different law with substantially

different requirements, and employs analysis that this Court has already

rejected, that decision has no relevance here.

      Respectfully submitted this 23rd day of June, 2023.

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